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¥ UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT GF NEW YORK

Jennifer Rygie!-Boyd (R-5676) mer}

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Attorneys for Defendant SimplexGrinnell LP

 

~ “ oatee Of,
ROBERTO RAMOS, FRANK RODRIGUEZ, JOSE: Hon. “Beg a Hi ‘GOLD N. :
LUIS MALDONADO, JOSE FERNANDEZ, CHRIS : Case No.“ ;
MAIETTA, RANDY WRAY, ROGELIO SMITH, — :
AGBAN AGBAN, YADIRA GONZALEZ, :
MAXIMO ESTRELLA, JR., JAIME OYARVIDE, — : Civil Action
NACIM BENNEKAA, BRENO ZIMERER, and ‘
OMAR FLOREZ, individually and on behalfofall =: NOTICE OF REMOVAL
other persons similarly situated who are or were :
employed by SimplexGrinnell LP with respect to
Public Works Projects mentioned in this Complaint,

Plaintiffs,
¥v.

SIMPLEXGRINNELL LP and JOHN DOR
BONDING COMPANIES #1-3,

Defendants.

TO: CHIEF JUDGE AND JUDGES OF
THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

ON NOTICE TO:

Bruce E. Menken Clerk

Beranbaum Menken Ben-Asher Supreme Court of the State of New York
80 Pine Street County of Kings

New York, New York 10005 360 Adams Street

Attorney for Plaintiffs Brooklyn, NY 11201

 
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HONORABLE JUDGES:

Defendant SimplexGrinnell, L.P. (“Defendant”) notices the removal of this action
pursuant to 28 U.S.C. § 1441 and 28 U.S.C, § 1446 to the United States District Court for the
Eastern District of New York, and as grounds therefore shows as follows:

L TIMELINESS OF REMOVAL

1. On or about February 6, 2067, plaintiffs Roberto Ramos, Frank Rodriguez, Jose
Luis Maldonado, Jose Fernandez, Chris Maietta, Randy Wray, Rogelio Smith, Agban Agban,
Yadira Gonzalez, Maximo Estrella, Jv., Jaime Oyarvide, Nacim Bennekaa, Breno Zimerer, and
Omar Florez (“Plaintiffs”) filed a civil action against Defendant in the Supreme Court of New
York, County of Kings, entitled Roberto Ramos, ef af. v. SimplexGrinnell LP, ef af, Index No.
4393/07 (“Plaintiffs’ state court action”). A true and correct copy of the Complaint is attached as
Exhibit A.

2. The first notice received by Defendant of Plaintiffs’ state court action occurred on
February 15, 2005 when a copy of the Complaint was served,

3, Accordingly, pursuant to 28 U.S.C. § 1446(b), this Notice of Removal has been
limely filed within 30 days after first notice by Defendant of Plaintiffs’ state court action,

II. VENUE.

4, The Supreme Court of New York, Kings County, is located within the Eastern

District of New York. Therefore, venue for the purposes of removal is proper because it is the

“district and division embracing the place where such action is pending.” 28 U.S.C. § 1441 (a).

5. No previous application has been made for the relicf requested herein.

 
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I. REMOVAL IS PROPER BECAUSE THE COURT HAS SUBJECT MATTER
JURISDICTION PURSUANT TO 28 U.S.C, § 1332
6. This cause is a civil action within the meaning of the Acts of Congress relating to
removal of causes.
7 As set forth below and in the Declaration of Shawn Love, the claims of al least
one of the named Plaintiffs alleged in the Complaint are removable under 28 U.S.C, § 1332(a)
(diversity of citizenship).
8. As set forth below and in the Declaration of Shawn Love, the claims alleged in
the Complaint are all removable under the Class Action Fairness Act of 2005 (“CAPA”), 28
U.S.C. § 1332(d).
, To the extent this Court would not otherwise have jurisdiction over any claim, it
may exercise supplemental jurisdiction over such a claim pursuant to 28 U.S.C. § 1367,
10. Pursuant to 28 U.S.C. § 1441 (a), this action may be removed because the district
courts of the United States would have had original jurisdiction of this action.

A. TRADITIONAL DIVERSITY REQUIREMENTS UNDER
28 U.S.C. § 1332(a) ARE ESTABLISHED.

1i. This action is properly removable under 28 U.S.C. §1441 and 28 U.S.C. 91446
because the United States District Court has original jurisdiction in this case under 28 U.S.C. §
1332(a), which provides: “The district courts shall have original jurisdiction ol all civil actions
atising where the amount in controversy exceeds the sum or value of $75,000.00 exclusive of
interest and costs, and is between (1} citizens of different states.”

12. Plaintiffs allege that they are individuals residing in the State of New York

(Complaint, 7 3). As required by Local Civil Rule $1.1, Defendant's records show the following

addresses for the individual plaintiffs:

 
Roberto Ramos
758 E. 105th Street, Apt. 1D
Brooklyn, NY 11236

Jose Fernandez
127 W. 48th Street
Bayonne, NJ 07002

Rogelio Smith
530 Herzel Street, Apt. D3
Brooklyn, N¥ 11212

Maxime Estrella Jr,
P.O. Box 3214
Astoria, NY 11105

Breno #imerter
41-65 Forley Sireet, Apt. 5H
Elmhurst, NJ. 11373

Frank Rodriguez
2410 Davidson Ave., Apt. 7B
Bronx, NY 10468

Chris Maietta
1 West Caboi Lane
Westbury, NY 11590

Agban Agban
416 Holmes Drive
Burlington, NJ G8016

Jaime Oyarvide
449 Atkins Avenue, Apt. 2R
Brooklyn, NY 11208

Omar Florez
98-05 67th Avenue, Apt. 3K
Rego Park, NY 11374

@

Jose Luis Malkionado
449 Atkins Avenue, Apt. 2R
Brooklyn, NY 11208

Randy Wray
330 Herzel Street, Apt. AlO
Brooklyn, NY 11212

Yadira Gonzalez
233 Jamaica Avenue, Apl 4C
Brooklyn, NY 11207

Nacim Hennekaa
6295 Saunders Street, Apt. 3H
Rego Park, NY 11374

Based on the last known addresses, two of the plaintiffs—Agban Agban and Jose Fernandez —
may be citizens of New Jersey.

43. Defendant SimplexGrinnell, LP is a limited partnership organized under the laws
of Delaware with its principal place of business located at One Town Center Road, 7th Floor,
Boca Raton, Florida, The citizenship ef a partnership is determined by the citizenship of its
members. Carden v. Arkoma Assoc., 494 U.S. 185, 195 (1990). SimplexGrinnell has four
partners: (1) a Nevada Corporation with its principal place of business in Florida; (2) a Delaware

| ecneral partnership with two partners (a Delaware limited liability company with its principal
place of business in Massachusetts, and a Nevada corporation with its principal place of business
in Massachusetts); (3) a Delaware corporation with its principal place of busincss in Florida; and
(4) a Massachusetts corporation with its principal place of business in Massachusetts.

Accordingly, for the purposes of removal, Defendant is a citizen of the states of Nevada, Florida,

Delaware, and Massachusetts.

 
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14. Defendants John Doe Bonding Companies #1-3 are fictitious parties whose
cilizenship is disregarded for purposes of removal. 28 U.S.C. § 1441{a).

15. In this action, Plaintiff Rogelio Smith (“Smith”) has alleged five claims against
Defendant arising from his employment with Defendant, These claims are Breach of Contract,
Quanium Meruit, Unjust Enrichment, New York Overtime, and Failure to Pay Wages.'

16. Smith has worked for Defendant during the time period covered by this lawsuit.
As set forth in the Declaration of Shawn Love, Regional Manager for Defendant’s Northern
Operations, if one accepts the allegations in the Complaint as true, then Smith’s claims could
exceed 380,000, exclusive of interest and casts.

17. The amount in controversy in ihis case therefore exceeds the sum or value of
$75,000.00, exclusive of interests and costs.

18. There being complete diversity for purposes of jurisdiction conferred by 28
U.S.C. § 1332(a), and the matter in controversy exceeding the sum of $75,000.00
exclusive of interest and costs, Plaintiffs’ state court action may be removed pursuant to
28 U.S.C. § 1441 and 28 ULS.C. § 1446.

19. Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental jurisdiction over the
entire action because the claims of at least one of the named plaintiffs satisfies the jurisdictional
threshold.

B. CAFA REQUIREMENTS ARE ESTABLISHED.
20, In addition te the traditional diversity requirements, this action also meets the

requirements for removal under the CAFA, as the putative class exceeds 100 members; diversity

 

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Plaintiff alse has alleged a claim for “Suretyship” against ihe John Doc Bonding
Companies.

 
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of citizenship exists; the $5,000,000 amount in controversy requirement is satisfied, and none of
the exceptions to the CAFA apply.
1, Plaintiffs’ Class Action Consists of More than 100 Members.

21. Plaintiffs purport to bring his action on behalf of “all persons who performed
electrical work for [Defendant] on the sites of [publicly financed construction projects] ftom
February 2, 2001 to the entry of judgment in this case.” (Complaint, 1, 7 [attached as Exhibit
A]? In the Complaint, Plaintiffs allege that the putative class is “in excess of 50 members.”
Plaintiffs are correct, although they have significantly underestimated this figure. Indeed, as set
forth m the Declaration of Shawn Love, during the time period alleged in the Complaint, over
400 different individuals have performed electrical work for SimplexGrinncll in the State of New
York. During this time period, most of these employees, if not all of them, performed electrical
work on publicly financed construction projects, (Love Decl., { 4.) Therefore, the aggregate
number of putative class members exceeds 100, satisfying the requirement of 28 U.S.C. §
1332(d)($)}(B).

2. Diversity of Citizenship is Established.

2?, As set forth above, all of the Plaintiffs are citizens of the State(s) of New York.
Defendant is a citizen of Delaware and Florida. Accordingly, this action meets the diversity of
citizenship requirements of the CAFA, 28 U.S.C. § 1332(d)(2){A).

3. The Amount-in-Controversy Requirement is Satisfied.

23. In the Complaint, Plaintiffs demand judgment as follows:

 

° Although Paragraph 7 of the Complaint refers to the “public works projects listed above,”

Paragyaph 1 makes it clear that the list of specific public works projects is nonexclusive, and that
the class involves individuals whe furnished labor on “publicly financed construction projects,
including hut not limited to” the specific projects identified by plaintiffs. (Complaint, { 1.)

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On their first cause of action, against [Defendant], in an amount in

excess of $2,000,000.00, plus interest;

Qn their second cause of action, against [Defendant], in an amount
in excess of $2,000,000.00, plus interest;

On their third cause of action, against [Defendant], in an amount in
excess of $2,000,000.00, plus interest;

On their fourth cause of action, against [Defendant], in an amount
to be determined by a jury to fully compensate the plaintiffs and the
other members of the class for due to [Defendant’s] failure to pay
overtime under new York Labor Law:

On their fifth cause of action, against [Defendant], in an amount in
excess of $2,000,000.00, plus interest;

On their fifih cause of action, against [Defendant] [sic], in an
amount in excess of $2,000,000.00, plus interest; and

Such other and further relief as the Court may decm just and
proper.

(Complaint, Prayer for Relief (a}-(g).}

24, The relief requested by Plaintiffs is cumulative relief. fd Through this action
Plaintiffs seek (en million dollars from the defendants, exclusive of costs and interest, in addition
to overtime pay and attorneys’ fees in accordance with New York statutory law.

25. Moreover, following a review of Defendant’s business records estimating the
hours of electrical work done on public finance construction projects in the State of New York
for a significant period of time covered by the Complaint, Defendant's Regional Manager for the
Northern Operations has determined that if all of the allegations in the Complaint are true, the
damages would exceed $5,800,000, exclusive of interest and costs. Accordingly, the amount in

controversy exceeds five million dollars, and thus this action meets the amount in controversy

requirement under the CAPA. 28 U.S.C, § 1332(d)}(2).

 
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4, No CAFA Exception Applies.

26. The CAFA contains jurisdictional exceptions, none of which applies to the
prescnt case.

27. The “Local Controversy Exception” docs not apply to the present case for a
number of reasons, including that Defendant is not a citizen of New York. 28 US.C. §
1332(d4 (410) 7).

28. Likewise, the “Home State Exception” does not apply to the present case for the
same reasons, namely, that Defendant is not a citizen of New York. 28 U.S.C. § 1332(d)(4)(B).

Il, PROCESS, PLEADINGS AND ORDERS SERVED
29. ~~ copy of the Summons and Complaint is attached as Exhibit A. This represents
all of the Process, Pleadings and Orders served on Defendant at the time of removal.

30. To date, no Defendant has filed a responsive pleading in Plaintiffs’ slate court
action, and no other proceedings have transpired in that action.

31. In accordance with 28 U.S.C. §1446(d), copies of this Notice of Removal have
been served upon Plaintiffs, and filed with the Clerk of the Supreme Court of the Stale of New
York, County of Suffolk,

WHEREFORE, Defendant respectfully requests ihat this Honorable Court take
jurisdiction of this action and issue all necessary orders and process to remove said action from
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the Supreme Court of New York, County of Kings to the United States District Court for the
Eastern District of New York.
Respectfully submitted,
OGLETREE, DEAKINS, NASH,

SMOAK & STEWART, P.C.
Atlomeys for SimplexGrinnell LP

BG cls

ferRygiel-Boyd (IR 5676)
: 5a yenue, Suite 1700
w York, New York 10175

Tel: (212) 292-43 14
jenniter.rygicl-boyd@opletreedcakins.com

Date: March 7, 2007

 
 

 
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SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS

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ROBERTO RAMOS, FRANK RODRIGUEZ, JOSE

LUIS MALDONADO, JOSE FERNANDEZ, CHRIS IndexNo. 7 34 3/0]
MAIETTA, RANDY WRAY, ROGELIO SMITH,

AGBAN AGBAN, YADIRA GONZALEZ, MAXIMO

ESTRELLA, JR., JAIME OY ARVIDE, NACIM

BENNEKAA, BRENO ZIMERER and OMAR FLOREZ,

individually and on behalf of all other persons similarly

situated whe are or were employed by SimplexGrianeil LP

with respect to Public Works Projects mentioned in

this Complaint. CLAS MMONS

 

Plaintiffs,
Plaintiffs designate Kings County as
the place of trial.
-against-

SIMPLEXGRINNELL LP and JOHN DOE
BONDING COMPANIES #1-3,

Defendants. a
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TO THE ABOVE NAMED DEFENDANTS: .
You are hereby summoned to serve upon Plaintiffs’ attorneys an answer to the
complaint in this action within 30 days after service of this summons. In case of your failure to
answer, judgment will be taken against you by default for the relief demanded in the complaint.

Dated: New York, New York
February 5, 2007
BERANBAUM MENKEN BEN-ASHER

HN N LLP
fee

 

By:

Bruce £. Menken

&0 Pine Street

New York, N¥ 10005

213-309-1616

To:  SimplexGrinnell LP wd 97 qs igo

30 Technology Brive nee & nM
Westminster, MA 01441 03 Nas ge

 

 
SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS

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ROBERTO RAMOS, FRANK RODRIGUEZ, JOSE uy
LUIS MALDONADO, JOSE FERNANDEZ, CHRIS Index No. 13973 bo
MAIETTA, RANDY WRAY, ROGELIO SMITH,

AGBAN AGBAN, YADIRA GONZALEZ, MAXIMO

ESTRELLA, IR, JAIME OYARVIDE, NACIM

BKENNEKAA, BRENO ZIMERER and OMAR FLOREZ,

individually and on behalf of all other persons similarly

sttuated who are or were employed by SimplexGrintell LP

with respect to Public Works Projects mentioned in

this Complaint. CLASS ACTION COMPLAINT
Plaintiffs,

 

~against-

SIMPLEXAGRINNELL LP and JOHN DOE
BONDING COMPANIES #1-3,

Defendants. .
eeneees ex =

 

Plaintiffs. Roberto Ramos, Frank Rodriguez, Jose Luis Maldonado, Jose Fermandez, Chris
Maietta, Randy Wray, Rogelio Smith, Agban Agban, Yadira Gonzalez, Maximo Estrella, Ir.,
Jaime Oyarvide. Nacim Bennekaa, Breno Zimerer and Omar Florez (“Plaintiffs , on behalf of

the putative class by their attorneys, Beranbaum Menken Ben-Asher & Bierman LLP, allege as

 

follows:
PRELIMINARY STATEMENT
t, ‘Fhis action is brought on behalf of the plaintiffs, and a putative class of individuals
who furnished labor to defendants SimplexGrimeli LP., and/or any other entities affiliated with

er controlled by SimplexGrinnell LP (“Defendants”) on publicly financed construction projects,

including but net limited to: Binghamton Psychiatric Center, Hudson River Psychiatrie Center,

 

 
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Mid-Hudson Forensic Psychiatric Center, Mohawk Valicy Psychiatrie Center, Sagamore
Children's Psychiatric Center, St, Lawrence Psychiatric Center, Broux Psychiatric Center, Bronx
Children's Psychiatric Center, Brooklyn Children's Psychiatric Center, Creedmoor Psychiatric
Center, Queens Children’s Psychiatric Center, Kingsboro Psychiatric Center, Manhattan
Psychiatric Center, Kirby Forensic Psychiatric Center, New York Psychiatrie Institute, South
Beach Psychiatrie Center, Capital District Psychiatric Center and Rockland Group Psychiatric
Cenler (the “Public Works Projects"). Plaintiffs seek to recover wages and benefits which they
and members of the putative class were entitled to receive for work they performed on the Public
Works Projects but did not receive,
VENUE

3. Venue is proper in Kings County, the county of residence of several of the

individually named plaintiffs, under CPLR Sec. 503.
PA ES =

3. Plaintiffs, and other menibers of the putative class. are individuals residing in the
State of New York who performed labor - service and maintenance on alarm and security
systems ~ for defendants and/or other stibsidiaries, affiliates and joint ventures of this entity.

4. Upon information and belief, defendant SimplexGrinnell LP (hereafter “SG") isa

limited partnership formed in the State of Delaware and a subsidiary of Tyco International Ltd.

 

G's headquarters is located at 50 Technology Drive, Westminster, Massachusetts 01441 and/or
One Town Center Road, Boca Raton, Florida... It has over 100 district offices located throughout
the United States, including the following New York offices located in Long Island City, Clifton

Park, Willamsville, Endicott, Hauppauge, Newburgh, Rochester and Syracuse. The New York

Clty district office, that adntinisters all of the work performed in the five boroughs of New York

 
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City, is located at 2323 Randolph Avenue, Avenel, New Jersey 07001. Untess otherwise alleged
herein, all of SG’s employees were acting as agents in doing the things alleged in this complaint
and, as such, were acting within the course and scope of that agency and employment.

5, 8G provides integrated security alarm, fire suppression, healthcare communications
and emergency lighting systems to government agencies, corporations, hospitals and educational
facilities. Not only does SG design, engineer and install such systems, they provide inspection,
testing, maintenance and monitoring of them, as well.

CLASS ALLEGATIONS

6. This action is properly maintainable as a class action pursuant to Artiele ? of the
New York Civil Practice Law and Rules.

J. This action is brought on behalf of plaintiffs and a class consisting of all persons
who performed electrical work for SG on the sites of the public works projects listed above from
February 2, 2001 to the entry of judgment in this case (the “class” and “class period,”
respectively),

8 The persons in the class identified above ave so numerous that joinder of all
members is impracticable. Although the precise number of such persons is unknown, and facts
on which the calculation of that number are presently within the sole control of the defendants, it
is believed that there are in excess of 50 members of the class during the class period.

9. There are questions of law and fact common to the class which predominate over
any questions affecting only individual memtbers.

10. The claiws of plaintiffs ave typical of the claims of the putative class.

11. Plaintiffs and their counsel! will fairly and adequately protect the interests of the

class.

 
 

12. A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, This fs particularly true in the context of wage and hour
Jitigation where individual plaintiffs lack the financial resources to vigorously prosecute 2
lawsuit against large corporate defendants such as SG.

13. There are questions of law and fact common to the class which predominate over

 

any questions solely affecting tadividual members of the class, including:

(a) whether SG entered into certain contracts with various government agencies,
such as the New York State Office of Mental Health, to furnish the necessary labor, material and
equipment to perform work upon the public work projects;

(b} whether SG paid plaintiffs and the putative class the prevailing rates of wages
and supplements to them and all workers finishing labor on the sites of the public works
projects; and,

(c) whether SG misclassified some or al! of the plaintiffs and the putative class =
as apprentices rather than journeymen.

FACTS
i4. Upon information and belief, beginning in or about 2001, SG entered into certain
contracts, as either a subcontractor or prime contractor, with certain government agencies (¢.¢.,
New York State Office of Mental Health}, or with prime contractors not currently known, to
furnish labor, material and equipment to perform work on these public works projects.
15. Upon information and beltef, the public works contracts required that SG pay and
ensure payment of the prevailing rates of wages and supplements to all workers furnishing labor

on the sites of the public works projects, inchiding their direct employees and all other persons

furnishing labor on the sites of the public works projects. Upon information and belief, the

 
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public works contracts also provided that any subcontsacts that 5G entered into cantain language
requiring the payment of prevailing rates of wages and supplements to all workers furnishing
labor on the sites of the public works projects.

16. Upen information and belief, a schedule containing prevailing rates of wages and
supplemental benefits (“prevailing wage schedule”) to be paid to the plaintiff class was annexed
to and formed a part af the public works contracts.

17, The promise to pay and ensure payrnent of the prevailing wage and supplemental
benefit rates in the public works contracts was made for the benefit of all workers furmshing
labor on the sites of the public works projects and, as such, the workers furnishing labor on the
sites of the public works projects are the beneficiaries of that promise and the contracts entered
into between SG and government agencies.

18, Upon information and belief, in furtherance of the public works contracts entered
into by SG, plaintiffs and other members of the putative class performed various types of
electrical related work including, but not limited to, maintaining, repairing and/or replacing fire
alarm and security system equipment. |

I9. Upon information and belief, for alt work performed by plaintiffs and other
members of the putative class for SG at the site of the public works projects, $G willfully paid
plaintiffs and other members of the putative class less than the prevailing rates of wages and
supplements to which they were entitled.

20. Upon information and belief, during the period of time for which plaintiffs and the
members of the putative class performed work on the public works projects, SG also failed to

ensure payment of the prevailing rates of wages and supplements to which plaintiffs and other

members of the putative class were entitled.

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21. Upon information and belief, defendants John Doe Bonding Companies z1-3
issued payment bonds to SG and/or the prime contractors, ensuring the obligations of SG and its
subcontractors, affiliates and/or joint ventures, in connection with the public works projects,

Fi CAUSE OF ION
BREACH OF CONTRACT

22. Plaintiffs repeat and reallege the allegations contained in paragraphs | through 21
herein.

23. Upon information and belief, the public works contracts entered into by 3G
contained schedules of the prevailing rates of wages and supplemental benefits to be paid
plaintiffs and the other members of the putative class.

24. Those prevailing rates of wages and supplemental benefits were made a part of the
public works contracts for the benefit of the plaintiffs and the other members of the putative
class. =

25. $G breached the public works contracts by failing to pay plaintiffs and the other
members of the putative class the prevailing rates of wages and supplemental henefits for all
labor performed upon the public works projects.

26. Asaresult of its breach of the public works contracts. SG is liable to plaintiffs and
the other members of the putative class in an amount yet to be determined but believed to exceed
$2,000,000.00 plus imterest.

SECOND CAUSE OF ACTION (Pled in the Alternative}
TAN LRIERUI

27. Plaintiffs repeat and reailege the allegations contained in paragraphs 1 through 26

herein.

 
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28. Plaintiffs and the other members of the putative elass have performed numerous
and valuable services at the request and for the benefit of SG. The reasonable value of those
services for which plaintiffs and the other members of the putative class have not been paid is
believed to be in excess of $2.000,000,00, plus interest,

29. Asa result, 3G is liable to plaintiffs and the other members of the putative class in

an amount not yet determined but believed to exceed $2,000,000.00, plus interest.

THIRD CAUSE OF ACTION (Pied in the Alternative)
UNJUST ENRICHMENT

30. Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 29
herein.

3], Plaintiffs and members of the putative class have performed a significant amount of
work for which they have not been paid.

32. Upon information and belief. when SG entered into the public works contracts, it
apieed to pay the required prevailing wage, overtime and supplemental benefit rates of pay to
plaintiffs and members of the putative class. :

33. Upon information and belief, SG billed the public owner, such as the New York
State Office of Mental Health, for labor performed by plaintiffs and members of the putative
class at the higher prevailing, overtime and supplemental benefit rates, which 8G did not pay.

44, As aresult of this failure to pay said wages, SG was unjustly enriched for work and

services performed by plaintiffs and members of the putative class in an amount believed to

exceed $2,000,000.00, plus interest.

 
FOURTH CAUSE OF ACTION
NEW YORK OVERTIME

33. Plaimiffs repeat and realege the allegations contained in paragraphs i through 34

herein,

36. 8G violated New York Labor Law Sec. 653 and 12 NYCRR 142-32 by failing to

pay plaintiffs and the other members of the pulative class overtime compensation for work they

performed in furtherance of the public works contracts,
37, 8G's failure to pay overtime compensation to plaintiffs and the other members of

the putative class was willful,

38. As aresuit, SG is Hable to plaintiffs and the other members of the putative class in
an aroount to be determined.
FIFTH CAUSE OF ACTION
FAILURE TG PAY WAGES
39. Plaintifi’s repeat and reallege the allegations contained in paragraphs | through 38
herein,
40. Plaintiffs’ wage rate and/or overtime compensation tate were within the meaning of
and covered by New York Labor Law Sections 190, 191 and 198-c.
41. 5G violated New York Labor Law Sec. 19] by failing to pay plaintiffs and other

members of the putative class the required wage and overtime compensation rates for the work

they performed during the putative class period.

#2. $G violated New York Labor Law Sec. 198-c by failing 1o pay plaintiffs and other

members of the putative class the agreed upon benefits and/or wage supplements owed to them

for the work they performed during the putative class period,

 
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43. Upon information and belief, this failure to pay the agreed upon wages, overtime
compensation benefit and supplement rates, on the part of the SG was willful.

44. Asa result, SG is liable to plaintiff and other members of the Putative class in an
amount not yet determined but believed to exceed $2,000,000.00 pius attorneys" fees and costs
and interest,

SEXTH CAUSE OF ACTION
fAgainst Defendants John Dae Bonding Companies #1-3)
SURETYSHIP

45. Plaintiffs repeat and reallege the allegations contained in paragraphs | through 44
herein,

#6. By issuing the bonds to SG and/or the prime contractors, John Doe Bonding
Companies #1] .3 assumed joint and several liability with SG to pay plaintiffs and the other
inembers of the putative ctass any and all wages and supplemental benefits due and owing to -
them which 5G failed to pay, .

47. $G's failure to pay and/or ensure Payment of prevailing wages and supplemental
benefits to plaintiffs and other members of the putative class for work performed by them on the
public work projects sites is believe to be in An aggregate amount not yet determined but believed
to exceed £2,000.000.00.

48. Upon information and belief, purstiant to the terms of the bonds, John Doe Bonding
Companies 41-3 ave required to make payment to plaintiffs and the other members of the putative
class for the underpayment of prevailing wages and supplemental benefits, plus interest, as per

the terns of the applicable bonds in an amount not yet determined but believed to exceed

$2,000,000.00 plus interest.

 
49, Said amount shail be apportioned to each bonding conipany as per the terms of the
applicable bonds.

WHEREFORE, Plaintiffs demand judgment:

a On their first cause of action, avainst defendant SG, in an amount in excess of
32,000,000.00, plus interest:

b. On their second cause of action, against defendant 8G, in an amount in excess of
$2,000,000.00, plus interest:

€. On their third cause of action, against defendant SG, in an amount in excess of
$2,000,000.00, ptus interest;

d. On their fourth cause of action, against defendant 5G, in an amount to be determined
by a jury to fully compensate the plaintiffs and the other members of the class for due to
defendant SG's failure to pay overtime under New York Labor Law,

&. On their fifth cause of action, against defendant 3G, in an amount in excess of “
52,000,000.00, plus reasonable atiorneys’ fees, costs and interest; .

f. Oh their sixth cause of action, against defendant SG, in an amount in excess of
$2,000,000,00, plus interest; and
g. Such other and further relief'as the Count may deen just and proper,

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Dated: New York, New York
February 6, 2007 BERANBAUM MENKEN BEN-ASHER &
BIERMAN LLP ,

IF byw

By:

 

Bruce E. Menken

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